IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
ex. rel. YOASH GOHIL,

Plaintiff/Relator,

Vs. No. 02-cv-2964
SANOFTI-AVENTIS U.S. INC.; AVENTIS,
INC., AVENTIS PHARMACEUTICALS,
INC., and JOHN DOES #1-50,
FICTITIOUS NAMES,

Defendants. Plaintiff/Relator Demands
Trial By Jury

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THIRD AMENDED QUI TAM COMPLAINT

The Relator, Yoash Gohil, by his attorneys, Blank Rome LLP and Carl D. Poplar, P.A.,

files this Third Amended Qui Tam Complaint and, in support thereof, states as follows:

I. THE PARTIES

A. PLAINTIFF/RELATOR.

1. The Plaintiff/Relator Yoash Gohil was an employee of the Defendant and its
predecessor companies from February 8, 1982, until he resigned in or about June 2002.

2. At all times relevant hereto, Plaintiff was a Senior Oncology Sales
Representative. As a Senior Oncology Sales Specialist with Aventis, Gohil’s duties included,
but were not necessarily limited to, the marketing, promotion, and selling of pharmaceuticals that
are manufactured and/or distributed by Defendant Aventis.

3. Aventis’ Oncology Division is a separate business unit within the company.

4, Relator has direct and independent knowledge of the information on which the

allegations of this lawsuit are based, and Relator voluntarily provided that information to the

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Government before filing this action. Relator is an original source of the information on which
the allegations of this lawsuit are based.

B. DEFENDANTS.

5. In 1995, Hoechst Roussel Pharmaceuticals Inc. (““HRPI’”) merged with Marion
Merrell Dow Inc. to form the company known as Hoechst Marion Roussel Inc. (“HMR”). In
1999, Rhone-Poulenc Rorer Pharmaceuticals (“RPR”) merged with HMR forming a new
company known as Aventis Pharmaceuticals, Inc. Effective December 31, 2005, the operations
of Aventis Pharmaceuticals, Inc. and Sanofi Syntholab, Inc. were merged into a new operating
entity named Sanofi-Aventis U.S. Inc., now operating as a Delaware corporation (hereinafter
referred to as “Defendant Aventis”).

6. Aventis Pharmaceuticals, Inc. is the primary United States subsidiary of the
Defendant Aventis, through which Defendant Aventis conducts certain of its United States
operations.

7. Aventis, Inc. is a United States subsidiary and/or affiliate of the Defendant
Aventis, through which Defendant Aventis conducts certain of its United States operations.

8. Defendant Aventis is a pharmaceutical company that develops, manufactures and
markets numerous pharmaceutical products, which include, but are not limited to, drugs for the
treatment of cancer and the side effects associated with chemotherapy. Defendant Aventis’

‘products marketed by the Oncology Division include Taxotere and Anzemet.

9. Defendant Aventis is one of the largest and fastest growing pharmaceutical
companies in the world. Defendant Aventis, a Delaware corporation, maintains a corporate
headquarters and principal business address at 300 Somerset Corporate Boulevard, Bridgewater,

New Jersey.

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10. Attimes relevant hereto, Defendant Aventis’ Oncology Division employed
approximately 300 oncology sales representatives, 100 sales managers and support staff
managers, and 50 marketing department personnel, including product managers (hereinafter
referred to as Aventis Oncology Division’s “sales force’’), situated and assigned throughout the
United States.

11. According to figures posted on the official company website, the aforementioned
affiliated entities utilizing the name and/or trading as “Aventis” collectively generated
worldwide sales of 17.7 billion Euro Dollars in 2001, during the time when the herein described
Fraudulent Marketing Scheme was being perpetrated.

12. John Does #1-50, fictitious names, are individuals, corporations, limited liability
companies, or other lawful business entities through which Aventis does business in the United
States and internationally, and who are unknown co-conspirators who conspired with Aventis to
perpetuate the scheme as described herein. To the extent that any of the conduct or activities
described in this Complaint were not performed by Defendant Aventis, but by the individuals
described herein as John Does #1-50, fictitious names, any reference herein to Aventis under
such circumstances, and only under such circumstances, refers also to John Does #1-50 and/or

other co-conspirators who conspired with Aventis to perpetrate the schemes described herein.

I. JURISDICTION AND VENUE

13. Jurisdiction is based upon 31 U.S.C. § 3732.
14. Venue is appropriate in this district under 28 U.S.C. § 3732(a), as Defendant
Aventis regularly conducts business in this district and the acts complained of herein occurred in

this district.

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I. AVENTIS’ FRAUDULENT MARKETING SCHEME TO CAUSE FALSE
CLAIMS TO BE SUBMITTED TO DEFRAUD THE GOVERNMENT

A. THE PLAN AND PURPOSE OF THE FRAUDULENT MARKETING SCHEME.

15. It was the plan and purpose of the scheme to illegally market Taxotere between in
or about 1996 and in or about January 2004 in order to fraudulently obtain Governmental
reimbursement by causing false and fraudulent statements to be made, and by causing false and
fraudulent claims to be submitted for payment in order to maximize Aventis’ profits.

B. THE MANNER AND MEANS OF EXECUTING THE SCHEME.

16. It was part of the scheme that Aventis illegally promoted the off-label sales and
use of Taxotere in order to obtain reimbursement for non-medically accepted indications and
maximize profits by making false and fraudulent statements to the public, healthcare providers
and the Food and Drug Administration (“FDA”).

17. It was further part of the scheme that Aventis paid illegal kickbacks in the form of
sham unrestricted grants, speaking fees, travel, entertainment, sports and concert tickets,
preceptorship fees, free samples, free reimbursement assistance, and other things of value to
physicians, hospitals and pharmacists in order to unlawfully promote the sale and off-label use of
Taxotere.

18. It was further part of the scheme that Aventis attempted to conceal and cover up
the off-label marketing of Taxotere and payment of kickbacks by making false statements to the
FDA and directing employees to conceal evidence.

19, The above-described scheme, described in paragraphs 15-18 is referred to herein

as the “Fraudulent Marketing Scheme.”

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Cc, THE FRAUDULENT MARKETING SCHEME TO PROMOTE TAXOTERE FOR OFF-
LABEL USES.

1. Taxotere Is Approved By The FDA As A Cancer Treatment
Only For Limited Indications.

20. | Two of the pharmaceuticals manufactured and/or distributed by Defendant
Aventis are Anzemet, a drug used in chemotherapy-induced nausea and vomiting and in post-
operative nausea and vomiting, and Taxotere, a chemotherapeutic agent. Anzemet and Taxotere
are the two products that Plaintiff Gohil was assigned to promote and sell as a sales specialist for
Aventis Oncology in or about mid-1999. During the time the Fraudulent Marketing Scheme was
being perpetrated, sales of Taxotere exceeded $900,000,000 in 2001, and sales of Taxotere in the
United States rose 34.1% in the first quarter of 2002, totaling 151,000,000 Euro Dollars for said
quarter. In 2004, net sales of Taxotere in the United States exceeded $1,400,000,000 Euro
Dollars (an 11.3% increase from the prior year).

21. Taxotere is a chemotherapeutic agent that, until November 2002, was approved
by the FDA for the treatment of patients with locally advanced or metastatic non-small cell lung
cancer (NSCLC), only after the failure of prior platinum-based chemotherapy; and in the
treatment of patients with locally advanced or metastatic breast cancer, only after the failure of
prior chemotherapy.

22. In November 2002, Taxotere received FDA approval for use in patients with
locally advanced or metastatic non-small cell lung cancer who have not received prior
chemotherapy. During the time periods relevant hereto, Taxotere had no other FDA-approved
indications.

23. Taxol is a separate and distinct chemotherapeutic agent manufactured and
distributed by Bristol Myers Squibb (“BMS”). Taxol has been on the market as a
chemotherapeutic agent since about 1991, and is approved for use in the following settings: first-

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line and subsequent therapy for the treatment of advanced carcinoma of the ovary; first-line, in
combination with cisplatin, for non-small cell lung cancer; and for the adjuvant therapy of node
positive breast cancer in combination chemotherapy. Taxol also has several approved uses for
the second-line treatment of other cancer types.

24. Taxol was approved for generic production in about 2000. The Average
Wholesale Price (‘A WP”) of Taxol and its generics are less than the AWP of Taxotere.

25. Between 1996 and 2004, Taxotere was the most expensive taxane on the market,
selling for approximately $15,000 per treatment regimen. A substantial portion of individuals
who are treated for cancer, and who are specifically treated with Taxotere and Anzemet, are
participants in federal reimbursement programs.

2. FDA Regulations Prohibit Off-Label Marketing And
False And Misleading Statements About A Drug’s Use.

26. 210U.S.C. § 331(d), and its implementing regulations, and 21 C.F.R.
202.1(e)(4)(i)(a) prohibit any advertising that recommends or suggests an off-label use for an
approved drug. The FDA has interpreted “advertising” to include a significant amount of speech
that would not typically be considered advertising. According to an FDA Final Guidance, the
“legislative histories of the 1938 [Food, Drug, and Cosmetic Act] and the 1962 amendments to
the act support a broad construction of what constitutes ‘advertising.’” Final Guidance on
Industry-Supported Scientific and Educational Activities, 62 Fed. Reg. 64,074 (Dec. 3, 1997).
The FDA further states that “thus, the agency interprets the term ‘advertisement’ to include
information (other than labeling) that originates from the same source as the product and that is

intended to supplement or explain the product.”

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27. | Any manufacturer speech explaining one of its products is an “advertisement” for
the product and is subject to the prohibitions against off-label marketing in 21 C.F.R. 202.1, as
well as the FDA’s “fair balance” requirement, described below.

28. 21 C.F.R. 202.1(e)(6)(xi) provides that an advertisement may not use “literature,
quotations, or references for the purpose of recommending or suggesting conditions of drug use
that are not approved or permitted in the drug package labeling.” See also 21 U.S.C. § 331(d)
(prohibiting distribution of a drug for non-approved uses); id. § 331(a) (prohibiting distribution
of a misbranded drug); id. § 360aaa (permitting dissemination of material on off-label uses only
if the manufacturer meets certain stringent requirements).

29. The FDA regulations that fall under the general rubric of 21 C.F.R. 202.1(e)(6) et
seq. ban advertisements that are false, lacking in fair balance, or otherwise misleading.

30. 21 C.F.R. 202.1(e)(6)(iv) prohibits an advertisement that “contains a
representation or suggestion that a drug is safer than it has been demonstrated to be by
substantial evidence or substantial clinical experience, by selective presentation of information
from published articles or other references that report no side effects or minimal side effects with
the drug or otherwise selects information from any source in a way that makes a drug appear to
be safer than has been demonstrated.”

31. Similarly, 21 C.F.R. 202.1(e)(6)(viii) prohibits a drug company from using “a
statement by a recognized authority that is apparently favorable about a drug but fails to refer to
concurrent or more recent unfavorable data or statements from the same authority on the same
subject or subjects.” 21 C.F.R. 202.1(e)(6)(x) states that a violation of the statute also occurs
when a drug company “uses a quote or paraphrase out of context to convey a false or misleading

idea.”

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32. 21 C.F.R. 202.1(e)(5) et seg. requires drug companies to present a “true
statement” of information relating to the side effects, contraindications, and effectiveness of the
drug use. A company violates this regulation if it presents “false or misleading” information
about a drug’s side effects or does not “fair[ly] balance” information relating to the safety and
efficacy of the drug use against information about its side effects and contraindications.

33. 21 C.F.R. 202.1(1)(2) broadly describes “labeling” of a drug as including any
material accompanying a drug product that is supplied and disseminated by the manufacturer,
packer or distributor of the drug.

34, 21 C.F.R. 201.56 requires labeling to be “informative and accurate and neither
promotional in tone nor false and misleading in any particular,” to “contain a summary of the
essential scientific information needed for the safe and effective use of the drug,” and prohibits
“implied claims or suggestions of drug use if there is inadequate evidence of safety or a lack of
substantial evidence of effectiveness.”

35. | The FDA has interpreted oral communications as falling under the umbrella of
“labeling.”

36. 21C.F.R. 99.101 ef seg. lays out the stringent requirements that must be met by
the manufacturer before it may disseminate any materials on unapproved or new uses of
marketed drugs. This material must be in the form of an unabridged reprint or copy of a
published, peer-reviewed article that is considered “scientifically sound” by experts qualified to
evaluate the safety or effectiveness of the drug involved. 21 C.F.R. 99.101(a)(2). The FDA does
not consider abstracts of publications to be “scientifically sound.” 21 C.F.R. 99.101(b).
Unabridged reprints or copies of articles shall not be disseminated with any information that is

promotional in nature. 21 C.F.R. 99.101(b)(2).

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37, Furthermore, the manufacturer must not disseminate materials that are “false and
misleading,” such as those that only present favorable information when unfavorable
publications exist, exclude mandatory information about the safety and efficacy of the drug use,
or present conclusions that “clearly cannot be supported by the results of the study.” 21 C.F.R.
99.101(a)(4).

38. As described below, Aventis violated these regulations by, inter alia, promoting
the off-label use of Taxotere and advertising in a manner that did not have “fair balance,”
disseminating abstracts of clinical studies on off-label uses to healthcare providers that fail to
meet the regulatory requirements, concealing true information about Taxotere’s significant side
effects, while overstating its safety and efficacy, making false and misleading statements to the
public, healthcare providers and the FDA, and by disseminating communications for off-label
use that were promotional in character in order to obtain federal reimbursement.

3. The Government Pays Claims For Taxotere Only When

It Is Used To Treat A “Medically Accepted Indication”
And When “Medically Necessary.”

39. Pharmaceutical products that are expensive are only widely prescribed when
Governmental medical expense reimbursement systems, such as Medicare, Medicaid,
Champus/Tricare, and FEHBP, pay for such products.

40. | Consequently, pharmaceutical manufacturers like Defendant Aventis depend upon
Governmental medical expense reimbursement systems to pay for expensive pharmaceutical
products sold in the United States, such as Taxotere. During the relevant time period, the AWP
for Taxotere was approximately $900 for a 20 mg. dose and $1600 for 80 mg.

41. During all times relevant hereto, Defendant Aventis believed or knew these

allegations to be true as a result of its experience in the pharmaceutical industry.

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42. | Governmentally funded medical reimbursement systems rely upon the informed,
impartial and unbiased judgment of medical professionals to allocate increasingly scarce
financial resources to provide necessary and appropriate care to the elderly and poor residents of
the United States.

43. Pursuant to Governmental medical reimbursement systems, the Government only
pays certain claims for the use of pharmaceutical drugs or biologics when a rendering healthcare
provider submits a claim for reimbursement on an appropriate claim form, the claim form is
completed, and the information provided on the form, if true, would make the claim eligible for
reimbursement.

44. To obtain such payments, the healthcare provider must certify that the services it
rendered to a patient were “medically necessary.” The signature of the healthcare provider on
government claim forms constitutes the provider’s certification that the services rendered were
“medically necessary.”

45. The healthcare provider’s certification that the services rendered were “medically
necessary” in turn constitutes its certification that the claim is eligible for reimbursement under
federal law.

46. To be eligible for reimbursement under Governmental medical reimbursement
systems, a drug or biologic must be used for a “medically accepted indication.”

47, A “medically accepted indication” is one that is either approved under the Food,
Drug, and Cosmetic Act or listed in certain drug reporting compendia, 42 U.S.C. § 1396r-
8(k)(6).

48. Congress has adopted a compendia-based system for determining appropriate

Medicaid reimbursements for off-label uses of a “covered outpatient drug.” Soc. Sec. Act §

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1927(g)(1)(B)G) and (k)(6) (permitting reimbursements for drug uses that “(i) are appropriate,
(ii) are medically necessary, and (iii) are not likely to result in adverse medical results”). Thus, a
prescription for a particular off-label Taxotere indication must be included in one of the
compendia identified in § 1927(g)(1)(B)(i) to be eligible for reimbursement under Medicaid, and
other federal reimbursement programs.

49. Similarly, as stated in the 1993 Omnibus Budget Reconciliation Act (OBRA), off-
label indications qualify as “medically accepted indications” for Medicare reimbursement if they
are supported by a citation in an approved drug reporting compendia. 42 U.S.C.

§ 1395x(t)(2)(B) (Medicare); 42 U.S.C. § 1396r-8(k)(6) (Medicaid). Additionally,
reimbursement under Medicare is only available to a physician if the services he or she provided
were “medically required,” and he or she certifies that the services performed were medically
necessary. 42 U.S.C. § 1395n(a)(2).

50. Defendant Aventis promoted certain off-label indications and dosages of
Taxotere, knowing they were not eligible for reimbursement because the indication or dosage
was neither approved and supported on the drug reporting compendia or the relevant fiscal
intermediary’s Local Coverage Determination (LCD), nor was included on Taxotere’s FDA-
approved product labeling, and was otherwise medically unnecessary.

51. Furthermore, Defendant Aventis illegally promoted all off-label uses without
meeting the FDA requirements, and without resubmitting Taxotere to the FDA testing and
approval process as required by 21 U.S.C.A. § 360aaa et seq.

52. Thus, certain claims for reimbursement of off-label Taxotere prescriptions failed
to meet the eligibility requirements of federal reimbursement programs, including, but not

limited to, Medicare and Medicaid.

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A. From Taxotere’s initial FDA approval in 1996 through 1997, Aventis
promoted Taxotere for the following treatments which, at that time, were neither approved by the
FDA nor supported by the available drug compendia: (1) adjuvant breast cancer; (2) neo-
adjuvant breast cancer; (3) non-small cell lung cancer (NSCLC); (4) small cell lung cancer
(SCLC); (5) ovarian cancer; (6) prostate cancer; (7) head and neck cancer; (8) bladder cancer;

(9) gastric cancer; (10) pancreatic cancer; (11) esophageal cancer; (12) trachea cancer; and
(13) colon cancer.

B. From 1998 through 2000, Aventis promoted Taxotere for the following
treatments which, at that time, were neither approved by the FDA nor supported by the available
drug compendia: (1) adjuvant breast cancer; (2) neo-adjuvant breast cancer; (3) first-line ovarian
cancer; (4) weekly dose for metastatic breast cancer, NSCLC, SCLC, and ovarian cancer; (5)
prostate cancer; (6) head and neck cancer; (7) bladder cancer; (8) gastric cancer; (9) pancreatic
cancer; (10) esophageal cancer; (11) trachea cancer; (12) colon cancer; (13) lymphoma;

(14) kidney cancer; and (15) liver cancer.

C. In 2001, Aventis promoted Taxotere for the following treatments which, at
that time, were neither approved by the FDA nor supported by the available drug compendia:

(1) adjuvant breast cancer; (2) neo-adjuvant breast cancer; (3) first-line ovarian cancer; (4) first-
line SCLC; (5) weekly dose for metastatic breast cancer, NSCLC, SCLC, ovarian cancer, head
and neck cancer, and bladder cancer: (6) gastric cancer; (7) pancreatic cancer; (8) esophageal
cancer; (9) trachea cancer; (10) colon cancer; (11) lymphoma; (12) kidney cancer; and (13) liver
cancer. Aventis also promoted Taxotere for use as first-line treatment against NSCLC in 2001.
However, in response to Aventis’ 1999 supplemental new drug application (SNDA), seeking

FDA approval for this indication, the FDA concluded in December 2000 that the SNDA “did not

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establish the safety or effectiveness of Taxotere for the first-line treatment of NSCLC.” Under 42
U.S.C. § 1395x(t)(2)(B)Gi)(), the FDA’s conclusion amounted to a determination that Taxotere
was “not medically appropriate” for the first-line treatment of NSCLC. Thus, after the FDA
ruling in 2000, Aventis continued to market Taxotere in violation of this FDA ruling for first-line
treatment of NSCLC, which was neither FDA-approved nor a “medically accepted indication”
under § 1395x(t)(2)(A).

D. From 2002 through 2004, Aventis promoted Taxotere for the following
treatments which, at that time, were neither approved by the FDA nor supported by the available
drug compendia: (1) adjuvant breast cancer; (2) neo-adjuvant breast cancer; (3) first-line ovarian
cancer; (4) first-line SCLC; (5) weekly dose for metastatic breast cancer, NSCLC, SCLC,
ovarian cancer, head and neck cancer, prostate cancer, bladder cancer, gastric cancer, and
esophageal cancer; (6) trachea cancer; (7) pancreatic cancer; (8) colon cancer; (9) lymphoma;
(10) kidney cancer; and (11) liver cancer. In addition, even after the FDA approved Taxotere for
first-line treatment of NSCLC only in combination with cisplatin in November 2002, Aventis
continued to market Taxotere as first-line monotherapy for NSCLC from 2002 to 2004. This use
was neither FDA-approved, nor a “medically accepted indication” under § 1395x(t)(2)(A) from
2002 to 2004.

53. | The compendia listed several forms of cancer as approved indications for
Taxotere, but only with a dose of 60-100 mg per square meter of body surface area once every
three weeks, as approved by the FDA and listed in the compendia. From 1998 to 2004, Aventis
promoted Taxotere for a weekly dose of 40 mg per square meter of body surface area, thus
increasing its retmbursements and potentially endangering patients; Taxotere may cause, inter

alia, bone marrow suppression, anemia, fever, painful urination, blood in urine, unusual bleeding

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or bruising, mouth sores and ulcers, burning, numbness, and weakness. These side effects could
plausibly be exacerbated in a patient who is given a higher dose of Taxotere than the FDA-
recommended amount. See Drug Information for the Healthcare Professional, USP DI (2004), at
pp. 1162-64. See also http://www.accessdata.fda.gov/drugsatfda_docs/label/2010
/020449s059]bl pdf (listing FDA-approved dose of Taxotere and adverse reactions to drug).

54. Between 1998 and 2004, Aventis encouraged physicians to prescribe Taxotere for
the first-line treatment of certain cancers, including, but not limited to ovarian and small-cell
lung cancer. This promotion was in violation of regional Medicare Part B administrators’ local
medical necessity policies that a patient’s “medical record must indicate that the patient failed
previous chemotherapy” prior to the administration of Taxotere.

55. Under 42 U.S.C. § 1395x(1)(2), a non-FDA approved drug treatment must be
“supported by a compendia” for the treatment to be reimbursable. Whether a particular use is
“supported by” a compendium citation does not depend exclusively on whether the compendium
lists the indication. Instead, support by a compendium depends on the exact use being promoted,
the content of the compendium citation with respect to that exact use, and the scope and outcome
of the studies as described in the compendium.

56. Between 1998 and 2004, Aventis marketed Taxotere for the treatment of certain
cancers, including, but not limited to, first-line locally advanced or metastatic breast cancer,
second-line NSCLC, second-line SCLC, second-line ovarian cancer, head and neck cancer,
prostate cancer, bladder cancer, gastric cancer, and esophageal cancer. These indications were
not “supported by” the compendia because the Taxotere studies on which the compendia relied
to list accepted indications were conducted by researchers who received kickbacks from Aventis.

Furthermore, these studies did not adequately address the toxicity of Taxotere, were based on

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non-randomized studies, were based on preliminary and anecdotal data from studies in which not
all of the treatment cycles were completed, and/or were based on phase II clinical trials. Phase II
clinic trials determine if the subject drug is safe for human use and effective against the diseases
in question. However, not until a drug has completed phase III trials can the compendia confirm
its effectiveness, monitor its side effects, and compare it to other available treatments. See
http://www.nlm.nih.gov/services/ctphases.html. To get indications for additional cancers listed in
the compendia without the support of phase III trials, Aventis sales representatives directed
physicians to whom Aventis paid kickbacks to lobby the compendia for additional listings of
accepted Taxotere indications. Some of these physicians also conducted the Taxotere studies
Aventis sponsored and received kickbacks from Aventis.

57. At all relevant times, Defendant Aventis knew and was aware that its Fraudulent
Marketing Scheme, described above, would cause the Government, through the above-described
reimbursement programs, to reimburse physicians, healthcare providers, and other purchasers of
Taxotere when it was used in settings which were not eligible for reimbursement, and/or which
were procured through false or fraudulent statements or through the payment of illegal
kickbacks, and that this reimbursement directly resulted in profit to healthcare providers, or other
purchasers of Taxotere, from the Government.

58. Furthermore, Aventis corruptly influenced the judgment of the physicians and
other healthcare providers submitting those claims, records and statements, causing the
submitting healthcare providers to falsely certify that certain Taxotere uses were “medically
necessary,” and that they had complied with all statutes, rules and regulations governing federal
reimbursement, including the Federal Anti-Kickback Act, 42 U.S.C. § 1320a-7b. But for

Aventis’ fraudulent promotion, healthcare providers would not have been unlawfully influenced

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to prescribe certain Taxotere uses, and Medicare and Medicaid would not have otherwise
reimbursed those claims.

. 59. Defendant Aventis therefore caused to be submitted to the Federal Government,
through programs such as Medicare and Medicaid, and other federal reimbursement programs,
numerous false claims and made and used false statements and records to get a false claim paid
and approved.

4, Aventis’ Fraudulent Marketing Scheme Included Making False
Statements To Healthcare Providers, The Public, And The FDA.

a. Aventis Misled The Public, Healthcare
Providers, And The FDA About Taxotere.

60. Aventis engaged in false and misleading promotion of Taxotere to the public and
to healthcare providers by making false representations and omitting material facts regarding its
approved indications; overstating its efficacy; concealing critical safety information; and by
fraudulently promoting Taxotere for off-label uses. As a result, the Division of Drug Marketing,
Advertising, and Communications (DDMAC), the marketing arm of the FDA, initiated a series
of warnings to Aventis, spanning well over two years, in an effort to compel Aventis to stop
these illegal promotional practices. Not only did Aventis fail to comply with DDMAC’s
demands, but it falsely assured DDMAC that it would cease all misleading Taxotere promotion
when, in truth and fact, Aventis had been engaged in a nationwide campaign to illegally promote
the off-label use of Taxotere to generate additional profits.

61. Despite Federal laws prohibiting this conduct, at all times relevant hereto, Aventis
had a corporate policy to promote off-label uses of Taxotere and made false and misleading
statements to the public, healthcare providers, and hospitals, falsely stating and/or implying that

the drug could be used in certain settings for which it was not approved.

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62. For example, as described more fully below in § 67, in or about 2001, Aventis
disseminated promotional brochures, misleadingly touting Taxotere’s safety and efficacy for the
unapproved use of first-line treatment in order to increase sales by encouraging the drug’s use in
a significantly larger patient population.

63. On June 30, 1999, Aventis submitted a supplemental new drug application
(SNDA) to the FDA seeking approval for Taxotere in the first-line setting for non-small cell lung
cancer (NSCLC), only to withdraw the application on April 26, 2000. In or about December
2000, the FDA concluded that the data in the SNDA “did not establish the safety or effectiveness
of Taxotere for first-line treatment of NSCLC.” According to the FDA, not only did the clinical
trials fail to demonstrate improved survival benefits as compared to drugs that were already
approved for first-line use, but, in truth and fact, the rate of deaths within 30 days and toxicity-
related deaths on the Taxotere arm of the study Aventis submitted (TAX 308) was higher than in
other randomized, controlled trials that served as the basis for the approval of other first-line
treatments.

64, At the same time, Aventis trained and instructed its sales force to mislead
physicians and healthcare providers by illegally promoting Taxotere and by falsely claiming
Taxotere had a “better” and “more manageable safety profile” than Taxol for both NSCLC and
breast cancer when, in truth and fact, Aventis knew that the FDA had specifically concluded that
the available data did not establish Taxotere’s safety or effectiveness for first-line treatment of
NSCLC, nor was Taxotere approved for first-line use in either setting. Furthermore, these
statements were false and fraudulent because Taxol had a Jower incidence of severe side effects

than Taxotere, as apparent from the black box warnings. Pursuant to this training, Aventis’ sales

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force made these false statements to healthcare providers in marketing Taxotere for off-label
uses,

65. It was not until November 27, 2002 that Taxotere was approved for first-line
treatment for patients with locally advanced or metastatic NSCLC, who have not already failed
prior chemotherapy. Even after its approval for first-line NSCLC in late 2002, Taxotere’s FDA-
approval was still limited to first-line use in combination with cisplatin. However, as part of its
Fraudulent Marketing Scheme to aggressively promote off-label uses of Taxotere, Aventis
continued to fraudulently overstate Taxotere’s indications in its promotional materials by
disseminating sales aids suggesting it could be used as first-line monotherapy for NSCLC.

66. In 2001, 2002, and 2003, DDMAC sent “Untitled” and “WARNING?” letters,
chastising Aventis for these false and misleading claims regarding the scope of Taxotere’s
approved indications.

b. Aventis Made False And Misleading Statements

Regarding The Scope Of Taxotere’s Treatment
Usages.

67. On July 26, 2001, DDMAC sent Aventis an untitled letter identifying promotional
activities that are in violation of the Federal Food, Drug, and Cosmetic Act (FDCA) and its
implementing regulations on off-label promotion. Specifically, the FDA charged that Aventis
marketed an unapproved use of Taxotere in promotional brochures distributed at a commercial
exhibit booth at the 37 American Society of Clinical Oncology (ASCO) Annual Meeting held
in San Francisco, California in May 2001. These brochures, which were freely available to all
ASCO attendees (who were all oncology specialists), advertised Taxotere as safe and effective
for first-line treatment in combination with Adriamycin, making such “conclusionary
statements,” such as that it was “the only taxane combination approved for first-line treatment of

locally advanced or metastatic breast cancer.” This statement was false and fraudulent because,

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in truth and fact, at that time, Taxotere was not approved in combination with Adriamycin by the
FDA for first-line treatment of locally advanced or metastatic breast cancer, and Aventis knew
that Taxotere was only approved for second-line treatment of patients who had already
undergone failed chemotherapy treatment. Furthermore, Aventis knew that there were other
taxane combinations, as well as other classes of drug combinations, that were approved for this
first-line treatment. Because Aventis had not demonstrated that Taxotere was safe and effective
for any other uses, DD MAC demanded that it “should immediately cease the distribution of
these and similar promotional materials.”

68. At the very next annual ASCO Meeting, held in Orlando, Florida in May 2002,
Aventis’ illegal promotion of Taxotere again prompted DDMAC to issue another letter,
demanding that Aventis cease dissemination and use of all violative promotional materials. This
second letter, sent on December 18, 2002, reprimanded Aventis for using sales aids and
billboards that contained false and/or misleading claims regarding Taxotere’s approved
indications because it used flawed study results and manipulative data presentation to imply that
Taxotere was more effective than it actually was, and downplayed critical information about the
severe risks and potential death that can result from Taxotere use in certain populations. Both
the sales aids and billboards prominently featured queen chess pieces and proclaimed that
Taxotere was “at the center of more strategies every day.” DDMAC condemned Aventis’ overly
broad advertisement as “false or misleading promotion” that “may compromise patient survival
and safety.”

69. Aventis responded to the December 18, 2002 letter on December 30, 2002, stating
that it “wished ‘to assure you [DDMAC] that effective immediately, the use of this sales aid has

been discontinued’ and ‘all unused copies of these or similar sales aids will be destroyed.’”

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Aventis further stated that “we [Aventis] are discontinuing the use of these [billboards] and any
similar materials.”

70. But Aventis’ statements to the FDA were false and misleading in that Aventis
continued its corporate policy to market Taxotere for off-label use and to use the advertisements
prohibited by the FDA in 2003 and 2004.

71. Despite DDMAC’s repeated demands to cease all dissemination and use of false
and misleading Taxotere promotional materials, and Aventis’ unambiguous assurances that it
would, on July 17, 2003, DDMAC sent Aventis a letter identifying two additional promotional
pieces — direct-to-consumer (DTC) ads in People Magazine from 2002 — that “raised concerns
similar to those that were highlighted in the December 18, 2002 untitled letter to Aventis.” In
Aventis’ response to DDMAC, it asserted that it believed the ads were “not inappropriate for the
intended use as consumer communications,” but regardless, were “not currently in use.”

72.  Inresponse to the FDA, Aventis identified a third print advertisement similar to
the other two cited by DDMAC, featuring a prominently placed queen chess piece underneath
the slogan, “The Next Move May Be the Key to Your Survival,” that was still in use. After follow
up telephone calls from DDMAC to Aventis in August 2003 regarding the nature of this third
advertisement, Aventis assured DDMAC in a letter dated August 21, 2003 that this third
violative ad “has been discontinued and pulled from all scheduled runs.”

73. The three 2003 advertisements involved the same chess theme DDMAC banned
in 2002 for misleadingly suggesting that Taxotere should play a central role in cancer patients’
treatment. All of the ads prominently featured a large queen chess piece and bore the slogans,

“The Next Move May Be the Key to Survival” and/or “It’s Your Move.”

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74. Aventis’ persistent disregard for DDMAC’s warnings and demands to cease all
fraudulent and misleading Taxotere promotion was memorialized in yet another DDMAC letter. -
this time, a “WARNING?” letter sent on November 12, 2003. This letter details Aventis’
continuing violations of the FDCA and FDA implementing regulations, describing the three
DTC advertisements it circulated even after representing to DDMAC in December 2002 that it
would discontinue the use of all fraudulent promotional materials similar to those already
condemned. DDMAC points out that the DTC ads were substantially similar to the previously
prohibited promotional materials: they involved the same chess theme and bore slogans
misleadingly implying that Taxotere will result in “significant survival advantages” and implying
to patients that “if they do not add Taxotere to their treatment, they will not survive” (emphasis
in original). Because the target cancer patient audience did have alternative treatment options
available to them with better, proven survival benefits than Taxotere, DDMAC concluded these
ads were “misleading.”

c. Aventis Made False And Misleading Statements
Regarding Taxotere’s Safety And Efficacy.

75. During the relevant time periods, Aventis overstated Taxotere’s efficacy by citing
flawed data, making unsupported claims, and minimizing its risks. Aventis’ false and misleading
sales tactics directly threatened patient safety and survival. As DDMAC warned in its December
18, 2002 letter, Aventis’ use of flawed and insubstantial data and its grandiose claims of
Taxotere’s clinical benefits, while neglecting to mention serious risk information, could cause
terminally-ill patients to receive substandard care.

76. Aventis’ use of flawed data was in violation of 21 C.F.R. 202.1(e)(6)(iv), and
according to DDMAC, Aventis used flawed data to conclude that Taxotere provided clinical

benefits that were not demonstrated by substantial evidence or substantial clinical experience. As

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DDMAC concluded in its December 18, 2002 letter, the data that Aventis claimed showed
Taxotere resulted in “significant survival advantages” was actually derived from a post hoc
subgroup analysis of a small patient population within a larger study, which is prohibited by 21
C.F.R. 202.1(e)(6)(v) (stating that an advertisement may not “present[] information from a study
in a way that implies that the study represents larger or more general experience with the drug
than it actually does’). In addition to relying on a poor study design, Aventis’ promotional
material further misrepresented Taxotere’s efficacy by using graphs that distorted the data
presentation to make it appear more favorable.

77. Asrecognized by DDMAC in both its December 18, 2002 letter and November
12, 2003 WARNING letter, Taxotere sales aids, billboards, and DTC advertisements deceptively
claimed that the drug is “at the center of more strategies every day.” The sales aids also boasted
“significant survival advantages” and “improved clinical benefits,” when in fact, as DDMAC
concluded, clinical trials actually failed to demonstrate improved survival benefits, the rate of
deaths within 30 days and toxicity-related deaths was higher for Taxotere than in other
randomized, controlled trials, and there is a risk of severe adverse reactions and death associated
with Taxotere’s use in specific patient populations.

78. Even after the DDMAC warnings in 2002 and 2003, Aventis continued its
corporate policy to promote off-label uses of Taxotere by disseminating these misleading sales
aids and brochures, as well as T-shirts and paperweights, bearing the banned slogan, “at the
center of more strategies every day,” and Aventis’ sales force distributed these violative
promotional items directly to physicians and other healthcare providers.

79. Jn addition to overstating Taxotere’s benefits, Aventis also illegally concealed

material information by minimizing the severe risks associated with the drug. While stretching

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the truth about Taxotere’s strengths, Aventis’ billboards and print advertisements neglected to
mention any safety or risk information contained in Taxotere’s boxed warning, in violation of 21
C.F.R. 202.1(e)(6)(iv).

80.  Taxotere’s labeling warns of severe risks and even death in certain patient
populations and provides important monitoring parameters, information regarding severe
hypersensitivity reactions, and critical information regarding the drug’s safe administration. The
three billboards displayed at several locations during the 2002 ASCO annual meeting that
DDMAC subsequently banned all featured graphics of a queen chess piece, the Taxotere product
logo and website address, and two of the three included the slogan, “at the center of more
strategies every day.” None of the billboards promoting Taxotere included a brief summary or
the approved product labeling. As DDMAC concluded in its December 18, 2002 letter, the
temporal delay between reading the Taxotere billboard’s optimistic message and learning of
these serious risks was unacceptable and in violation of Federal Regulations.

81. The print DTC ads also omitted critical risk information about Taxotere, although
they were disseminated months after Aventis received DDMAC warnings specifically
prohibiting this omission. The ads hail Taxotere as “generally safe and tolerable,” failing to
present both the important information from the drug’s boxed warning as well as information
about its common side effects. Any risk information that was presented lacked prominence to
the extent that DDMAC found it inappropriately downplayed the significant risks of using this
product.

82. ‘Ina further effort to conceal its off-label promotion from the FDA, and create the
false appearance that it was complying with FDA regulations, in or about October 2003, Aventis

retroactively enforced sham disciplinary procedures against a sales manager that had no actual

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effect on his future with the company. Despite the sales manager’s claim that he was just
following his supervisors’ orders, Aventis issued a written warning, which had no effect on his
pay or seniority, and “would in no way, shape or form have an impact upon [his] future with the
company,” in order to scapegoat this individual sales manager and conceal that it was, in truth
and fact, its corporate policy to unlawfully promote off-label uses. In addition, Aventis advised
the sales manager that it had no problem with his directing the sales force to promote off-label
uses of Taxotere; the concern was merely with his specific instruction that the sales force utilize
certain PowerPoint slides attached to a June 2001 e-mail in their detailing with physicians. Thus,
Aventis issued these sham warnings in an attempt to conceal its off-label promotion from the
FDA and create the false appearance that it had working compliance mechanisms in place.

d. Aventis Deceived The FDA In Response To Its

Repeated Warnings Regarding Its Fraudulent
Promotional Activities.

83. As described above, DDMAC repeatedly warned Aventis about its persistent and
fraudulent off-label marketing and promotion of Taxotere. Although Aventis feigned remedial
action in response to FDA’s numerous warnings, in truth and fact, Aventis continued to lie to the
FDA and withhold information regarding its specific use of violative promotional materials and
the steps it took to remove them from circulation in order to conceal its Fraudulent Marketing
Scheme.

84. In its December 30, 2002 response to DDMAC’s WARNING letter, Aventis
unambiguously stated that “we are discontinuing the use of these [billboards], and any similar
materials.” These billboards had featured queen chess pieces and two of the three misleadingly
claimed that Taxotere is “at the center of more strategies every day,” when, as DDMAC
concluded, Taxotere was not central to cancer patients’ treatment, and none of the billboards

provided sufficient information about Taxotere’s approved product labeling or boxed warning.

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85. | Aventis’ response to DDMAC was false and fraudulent because, even after the
2002 DDMAC letter, Aventis continued its false and misleading promotional and marketing
activities until at least as late as July 2003 by disseminating three DTC print advertisements that
were substantially similar, and equally violative, to the billboards that triggered the 2002
warning.:

86. On January 10, 2003, DDMAC demanded that Aventis compile and send a
comprehensive list of “all promotional materials that contained the same or similar violations
and were discontinued as a result of the untitled letter.” Aventis responded on January 17, 2003
with a list of twelve items that it had “discontinued and ordered destroyed.”

87, But on January 27, 2003, DDMAC was forced to contact Aventis again because
its list of discontinued items had not been complete; DDMAC was particularly concerned with a
“Dear Doctor” letter dated December 2002 that Aventis issued containing similar violations that
should have been destroyed. DDMAC demanded that Aventis re-examine its inventory of
promotional items and submit a revised list of all discontinued violative materials.

88. On February 6, 2003, Aventis sent its follow-up letter stating that it had, in fact,
issued the Dear Doctor letter, but it was “intended for one-time use and has been destroyed.”
Aventis then admitted to one more violative promotional piece that it assured was discontinued
as a result of the DDMAC warnings.

89. Yet, again, Aventis’ disclosures were false, as DDMAC identified two additional
violative DTC advertisements that Aventis had not included in either of the previous lists it
submitted to DDMAC. These ads both appeared on the back of People magazine’s circulation
wrap and prominently featured Aventis’ Taxotere slogans, “The Next Move May Be the Key to

Your Survival” and “It’s Your Move,” with a picture portraying two people as pieces on a

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chessboard and the queen chess piece centrally displayed between them a few squares away.
DDMAC found these ads to be misleading because the headline suggests that, if cancer patients
want to survive breast or lung cancer, their “next move” should include Taxotere, implying that
Taxotere is “more effective than has been demonstrated by substantial evidence or substantial
clinical experience.” DDMAC concluded that Aventis’ ads “reinforce[] the message that
treatment with Taxotere will result in significant survival advantages,” when, in truth and fact,
the clinical data “did not necessarily represent long-term survival or a cure.” DDMAC
demanded that Aventis submit a letter stating the status of these items (active or discontinued) as
well as yet another list of all violative promotional materials.

90. Aventis replied on August 1, 2003, assuring DDMAC that the two ads it
uncovered had been discontinued and identifying another DTC piece, similar to those two ads,
which falsely aggrandized Taxotere’s role in patients’ cancer treatment. This third ad, featuring
a prominently placed queen chess piece and including the same Taxotere slogans, “The Next
Move May Be the Key to Your Survival,” and “It’s Your Move,” had been disseminated in
“Coping,” “MAAM,” and “Cure” Magazines between March and July 2003 and was intended to
be disseminated in subsequent issues of those and other publications through December 2003.
Only after follow-up telephone calls did Aventis assure DDMAC in an August 21, 2003 letter
that it had discontinued use of this additional misleading piece.

91. Despite repeated reprimands from DDMAC, emphasizing the importance of
discontinuing all similar fraudulent promotional materials, DDMAC concluded that these later
ads, like the billboards, “misleadingly overstate[d] the survival benefits . .. and implied] that
survival depends on treatment with Taxotere,” while simultaneously. “minimizing the serious and

potentially life-threatening risks associated with the drug.”

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92. Aventis’ Fraudulent Marketing Scheme did not only mislead healthcare providers
and the public, but included direct deception of the FDA. The above-described false and
misleading statements to the FDA were part of Aventis’ larger efforts to conceal its Fraudulent
Marketing Scheme to illegally promote the off-label uses of Taxotere to healthcare providers.

e. Aventis’ Fraudulent Off-Label Promotion Of
Taxotere To Healthcare Providers.

93. Despite the warnings received from DDMAC, Aventis engaged in the same
fraudulent promotion to healthcare providers even after it represented to DDMAC that those
promotions had ceased. In particular, despite its representations to the contrary to DDMAC,
Aventis distributed banned materials to physicians and other healthcare providers until at least as
late as January 2004, which promoted Taxotere by misleadingly stating it “was at the center of
more strategies every day,” and presented the same misleading brochures to physicians that
overstated Taxotere’s safety and efficacy that were previously prohibited by DDMAC. Aventis’
sales force also disseminated product information file cards to physicians containing the same
misleading slogan and substantially similar information to the previously banned brochures.

94. Aventis implemented an “official training program” wherein its sales force was
required to learn all of the proper marketing, rules and regulations, and the appropriate fines,
penalties, etc. under the Prescription Drug Marketing Act (PDMA). Further, Aventis provided
training materials to its sales force reinforcing the proper procedures and requirements under the
PDMaA and the FDA guidelines. Finally, Aventis created company policies and procedures
which virtually mimic the PDMA and FDA rules.

95. Despite this official training program, Aventis had an unpublished corporate
policy of training its sales force to violate the rules, regulations, and requirements of the PDMA

and the FDA. After members of the sales force passed the “official training program,” they were

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indoctrinated into the company-wide, on-the-job sales program where sales representatives were
shown how to use insubstantial preliminary data in the field to induce healthcare providers to
prescribe more Taxotere for on and off-label uses.

96. | Once members of Aventis’ sales force completed the “official training program,”
the company provided various “training opportunities,” led by supervisory level Aventis
employees who then accompany the sales representatives on various appointments, instruct and
educate the sales representatives on how to use the sales data, scientific data, and various studies,
including unpublished and incomplete or preliminary studies, all discussing the use of Taxotere
in unapproved and non-indicated settings, to induce healthcare providers to purchase, prescribe,
and use Taxotere in unapproved and non-indicated settings, and to seek reimbursement from
various federal reimbursement programs, including but not limited to Medicare and Medicaid,
for the use of Taxotere in non-indicated and unapproved settings.

97. Aventis’ policy of using on-the-job training to teach its sales force to induce
healthcare providers to prescribe, and seek reimbursement for, on and off-label uses of Taxotere
from various federal reimbursement programs, including Medicare and Medicaid, by presenting
insubstantial and incomplete data, and by directly misleading healthcare providers about its
safety and efficacy occurred throughout the United States.

98. The official training was designed to give the appearance that Aventis is and was
complying with the requirements under the PDMA when, in truth and fact, the sales and
marketing techniques Aventis’ sales force was required to use directly violated the PDMA and
the FDA rules, and were utilized for the purpose of inducing healthcare providers to purchase

Taxotere for both on and off-label uses and indications, some of which were not listed on the

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drug reporting compendia, and then to seek reimbursement for which they were not eligible from
the Federal Government, through such programs as Medicare and Medicaid.

99. Defendant Aventis was and is aware that the on-the-job training program in which
its sales force is required to participate requires and encourages Aventis sales representatives to
violate the standards put forth in the PDMA. Further, Defendant Aventis was, at all relevant
times herein, and is aware that the unlawful promotion of its drugs induces and/or influences the
physician and/or healthcare provider to prescribe Taxotere in non-reimbursable settings and then
seek reimbursement under Medicare, Medicaid, and other federal reimbursement programs.

100. Many of the uses for which Aventis required its oncology sales force to promote
Taxotere were still in the very preliminary stages of clinical research. In some instances where
Taxotere was marketed to healthcare providers, there were no published studies to support the
claims made by Aventis’ sales representatives. In other instances, the study groups represented a
very small and/or statistically insignificant group of individuals. In still other instances, Aventis
required its sales representatives to ask physicians to take “‘a leap of faith” that Taxotere will be
successful in a particular treatment area because of its purported success in a different area. All
of this clinical “support” was aggressively presented and pushed on healthcare providers without
the proper documentation regarding Taxotere’s efficacy, toxicity, and safety.

101. Aventis made false and fraudulent statements to healthcare providers by directing
its sales force to “cherry-pick” positive clinical study results and only represent the benefits, not
the risks, of Taxotere in their interactions with physicians and other healthcare providers. In
addition, despite the ASCO confidentiality notice that always accompanied the abstracts
circulated at their annual meetings, investigators of Aventis-sponsored trials would leak

preliminary results to Aventis sales managers, who would then forward the information to all

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Aventis sales representatives, as well as healthcare providers, who would then begin prescribing
Taxotere for off-label uses before any published data became available. Aventis would also
provide PowerPoint presentations to Aventis speakers which included unbalanced preliminary
data on the off-label uses of Taxotere. Approximately 80-90% of the studies Aventis used in
their presentations to healthcare providers were in the form of ASCO abstracts. These abstracts
are “short, preliminary summaries of research” that typically include “preliminary data” and do
not “necessarily contain final results or conclusions.” As such, Aventis did not present a fairly
balanced picture of clinical results in their detailing with physicians in violation of 21 C.F.R.
202.1(e)(6) et seq., nor did it comply with the stringent requirements for the dissemination of
material on off-label drug uses set forth in 21 C.F.R. 99.101 ef seq.

102. For example, in or about mid-2001, Aventis would instruct its sales force to
discuss TAX 326 (ASCO 2001), an unpublished off-label clinical study on Taxotere use in the
first-line NSCLC setting, with physicians using a mere abstract from an ASCO conference, in
violation of 21 C.F.R. 99.101 et seg. Sales representatives were trained to highlight how this
study shows there are survival advantages to using the Taxotere/Cisplatin combination over
Vinorelbine/Cisplatin. However, the evidence behind this claim was merely based on
preliminary data that was not statistically significant. Sales representatives also concealed the
2% toxicity-related deaths that resulted in each Taxotere arm of this study, and did not convey
anything at all about Taxotere’s high level of toxicity to physicians.

103. Additionally, in early 2002, when Taxol was made available in generic form at an
even lower cost than Taxotere, Defendant Aventis continued to strategically and aggressively

urge its sales force to downplay certain studies in order to provide false and misleading negative

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and disparaging information on Taxol, and to continue to compel healthcare providers to use
Taxotere in off-label settings.

104. For example, Aventis encouraged its sales force to downplay ECOG 1594
(PASCO 2000) in their conversations with physicians. This study’s results emphasized the
safety and efficacy of the Cisplatin/Gemcitabine and Carboplatin/Taxol combinations for the
first-line treatment of NSCLC. Thus, although the study showed that Taxotere/Cisplatin actually
offered no significant difference in the overall survival or response rate as compared to other,
similar drug combinations, to strengthen its Taxotere sales pitch, Aventis trained its sales force to
say that ECOG 1594 was not a properly designed study in order to conceal Taxotere’s weaker
safety profile from physicians.

105. Similarly, in the breast cancer setting, Aventis trained its sales force to downplay
the results of CALGB 9344 and the NIH Guidelines for Adjuvant Breast Cancer, studies which
showed that evidence of taxanes’ role in the adjuvant treatment of node positive breast cancer
was inconclusive. To market Taxotere’s supposed superiority over Taxol in this setting, Aventis
sales representatives were instructed to highlight mere preliminary results and abstracts from
other, weaker trials, such as NSABP B-27.

106. To increase Taxotere sales, Aventis would train its sales force to emphasize the
lower incidence of non-lethal side effects, such as neuropathy, that results from Taxotere usage
(vs. Taxol) while not disclosing the /ethal side effect of severe neutropenia that occurs more
frequently with Taxotere usage. Aventis instructed its sales force to counteract various
physicians’ “resistance” toward certain data that was being selectively provided to them
regarding the off-label use of Taxotere in adjuvant settings by using a “great letter that will

highlight key points from the trial” (referring to CALGB 9344). In truth and fact, Aventis spent

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$200,000 on their “Sensitivity” campaign to highlight the low incidence of neuropathy side
effects to encourage healthcare providers to prescribe Taxotere when faced with a choice of
taxanes, despite Taxol’s lower price and lower incidence of severe side effects, thereby
fraudulently increasing reimbursements from Medicare, Medicaid, and other federal
reimbursement programs. Indeed, Aventis itself reported that sales of Taxotere in the United
States rose 34.1% in the first quarter of 2002, while the Fraudulent Marketing Scheme was in full
swing.

107. Not only did Aventis omit and conceal critical safety information by “cherry-
picking” positive clinical results, it also made false statements directly to physicians in its
promotion of Taxotere.

108. For example, in or about early 2001, Aventis trained its entire oncology sales
force at the 2001 National Meeting to falsely represent to physicians and other healthcare
providers that the Taxotere/Carboplatin combination “does not have the neuropathy,
nausea/vomiting, and neutropenia” that the Taxol/Carboplatin combination did when, in truth
and fact, TAX 326 and Aventis’ own documents showed that Taxotere does cause 74%
neutropenia, whereas the Taxol combination only caused 57%. Neutropenia is a blood disorder
characterized by an abnormally low number of neutrophils (a type of white blood cell that serves
as the body’s primary defense against infections) that has the potential to be fatal.

109. In or about 2001, Aventis trained its sales force to promote the unapproved use of
Taxotere for the treatment of ovarian cancer by making false and misleading statements directly
to health care providers regarding the incidence of toxic deaths that resulted from Taxotere use.
Although Taxotere had a higher incidence of neutropenia when compared with Taxol, the sales

force was instructed to use a summary slide on the SCOTROC study in its detailing with

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physicians, falsely representing that the neutropenia was “easily managed” and “not associated
with an increase in treatment discontinuation or toxic deaths” when, in truth and fact, the
SCOTROC study shows that neutropenic complications resulted in two septic fatalities

_ (neutropenic complication-related deaths), as compared to one Taxol-related septic fatality.

110. Based on this training, Aventis sales representatives made these false statements
directly to physicians and healthcare providers in their Taxotere promotion.

111. One-mails and voicemails from Area Sales Trainers and Sales Managers, Aventis
directed sales representatives to incorporate preliminary data on Taxotere’s off-label uses in their
“key selling messages” to physicians, in violation of 21 U.S.C. § 331(d), 21 C.F.R.
202.1(e)(4)(i)(a), and 21 C.F.R. 99.101(a)(2).

112. Pursuant to Aventis’ national sales policy to promote off-label uses, Aventis gave
its Philadelphia Area Sales Manager stacks of different studies, in various stages of completion,
on off-label uses, which he then selectively provided to sales representatives for their use in
detailing with healthcare providers in violation of FDA regulations and Aventis’ own policies.
Similarly, in a voicemail from the Scientific Information Manager to all Aventis field sales
associates nationwide, she informed them that they will receive “a FedEx package containing 20-
30 program brochures that have been approved for [their] distribution to physicians and nurses in
[their] area that may be interested in attending a satellite symposium offering continuing
education on the role of taxanes in the treatment of early state breast cancer” (an unapproved use
of Taxotere).

113. Aventis’ Philadelphia Area Sales Manager also selectively provided “success
stories” to Aventis’ sales force on the use of Taxotere in first-line NSCLC, describing a

articular sales representative’s success at convincing a physician to prescribe Taxotere for off-
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label use, and instructed sales representatives to follow up in the positioning of Taxotere with
physicians in order to get the first-line business on NSCLC and adjuvant stage breast cancer
from them.

114. Defendant Aventis set specific sales goals or targets for each sales representative
knowing that the improper and illegal marketing techniques will and must be used to attain the
desired market share.

115. Defendant Aventis trained its sales force to stress that the “core message” its sales
representatives are to convey to healthcare providers is that “Taxotere should be used for all
cancer types, and in all settings.” This “core message” WAS presented at all of the major sales
rallies, including the National Sales Meeting.

D. THE KICKBACK SCHEME PERPETRATED By AVENTIS TO FURTHER ITS OFF-
LABEL PROMOTION.

1, Relevant Medicare And Medicaid Reporting Requirements.

116. Medicare is a federally funded health insurance program designed to provide
primary health coverage for the elderly that was created in 1965 through Title XVII of the Social
Security Act. In order to obtain reimbursement from the Government, each Medicare-eligible
healthcare facility is required to submit, annually, a Medicare report on the Department of Health
and Human Services Healthcare Financing Administration (hereafter “HCFA”) Form HCFA-
2552. 42 C.F.R. § 413.24(f(iv). HCFA also sets forth detailed regulations, procedures and
instructions that each Medicare program participant must follow when calculating and
submitting reimbursable claims.

117. The certification contained in Form HCFA-2552, and similar forms, which certain
healthcare providers who seek reimbursement must execute annually, provides in relevant part:

Misrepresentation or falsification of any information contained in
this cost report may be punishable by criminal, civil and

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administrative action, fines and/or imprisonment under Federal
Law. Furthermore, if services identified by this report were
produced through the payment directly or indirectly of a kickback
or otherwise illegal criminal, civil and administrative action, fines,
and/or imprisonment may result. CERTIFICATION BY
OFFICER OR ADMINISTRATOR OR PROVIDER(S): I hereby
certify that I have read the above statement and have examined the
accompanying electronically filed or manually submitted cost
report and the balance sheet and statement of revenue and expenses
prepared by .. . (provider names and numbers) for the cost report
beginning ... and ending .. . To the best of my knowledge and
belief it is a true, correct and complete statement prepared from the
books and records of the provider in accordance with the
applicable instructions, except as noted. I further certify that I am
familiar with the laws and regulations regarding the provision of
healthcare services and that the services identified in this cost
report were provided in compliance with such laws and
regulations.

118. The certification set forth above is contained in each Form HCFA-2552 and
executed by certain healthcare providers, which were Aventis customers.

119. Atall times relevant hereto, certain Medicare-eligible providers were required to
sign this certification annually. Indeed, "providers of service participating in the Medicare
program" are required by Soc. Sec. Act. § 1815(a) to submit to the Department of Health and
Human Services information regarding the cost relating to health care services furnished to
Medicare beneficiaries. Medicare regulations also state that cost reports are required from these
providers on an annual basis. The HCFA~2552 certification is a prerequisite to eligibility for
payment under the Medicare program. See 42 C.F.R. § 413.24(f)(4)(iv). The consequences of
failure or refusal to certify as required by law and failure to report can result in all interim
payments made since the beginning of the cost report being deemed overpayments. 42 U.S.C.

§ 1395(g); 42 C.F.R. 413.20(b) and (e).
120. Under this certification, the healthcare provider certifies that the services provided

in the cost report are not infected by any kickback or any other unlawful activity. In addition,

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HCFA (i) conditions both payment and provider eligibility on the veracity of the certification and
the cost report; and (ii) considers invalid any cost report that contains a false statement in the
certification and the amounts contained therein.

121. Aventis’ customers/healthcare providers participating in Medicare are required to
familiarize themselves with all applicable laws, regulations and procedures and to certify on each
filed cost report that the report and any supporting documentation are true, correct and complete,
and prepared from the books and records of the healthcare provider in accordance with the
applicable instruction. Federal regulations also require that such providers are to furnish all
information necessary to assure proper payment under the Medicare program. Concealment or
silence regarding material facts affecting a healthcare provider’s right to reimbursement is a
violation of Federal law.

122. The Medicare and Medicaid Patient and Program Protection Act of 1987 permits
the exclusion of providers who have violated the Anti-Kickback Act from future participation in
Medicare and Medicaid programs. Furthermore, 42 U.S.C. 1320a-7b(a)(3) sets forth criminal
penalties for failing to disclose knowledge of the occurrence of any event that would affect the
initial or continued right to reimbursement under Federal healthcare programs, such as
knowledge of an Anti-Kickback Act violation.

123. All providers of service participating in Medicare and Medicaid programs are
required, as a condition precedent to the receipt of payment, to enter into certain "Provider
Agreements" with the Government which certify that the provider will comply with all laws,
regulations and program instructions concerning proper practices for providers.

124. The Provider Agreements and certifications contained therein were submitted to

the Government and executed by customers who purchased goods and/or services from Aventis.

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Each Provider Agreement contained a certification that the healthcare services provider would
comply with all Medicare and Medicaid laws and regulations, including, but not limited to, the
Anti-Kickback Act. However, certain healthcare providers who were customers of Aventis, and
who received unlawful remuneration in violation of 42 U.S.C.A. § 1320a-7b(b), caused the
certifications in their Provider Agreements to be false, and caused them to be in breach of their
Provider Agreements.

125. Additionally, the Medicaid Rebate Statute, 42 U.S.C. § 1396r-8, requires drug
manufacturers, like Aventis, to pass along any discount or rebate provided to the purchaser,
including cash and volume discounts, free goods, and kickbacks, to the state, and to report “best
price” information to the Centers for Medicare and Medicaid Services (“CMS”), to ensure that
the Medicaid program is reimbursing for drugs at the lowest price. By not reporting the true
discounts it provided to healthcare providers and other Taxotere and Anzemet purchasers, in the
form of various kickbacks and free drug samples, Aventis made false statements directly to the
Government by certifying its compliance with the Medicaid Rebate Statute on its quarterly
reports.

126. Aventis knew that its customers must provide healthcare services in compliance
with all Federal and State laws and regulations, and that compliance with such laws is a
condition of payment by these programs.

2.  Taxotere And Anzemet Were Marketed Together And

Aventis Marketed The Excess Profit On Anzemet As An
Inducement To Healthcare Providers To Use Taxotere.

127. In furtherance of the Fraudulent Marketing Scheme Aventis marketed Taxotere
and Anzemet together, as a package.
128. Taxotere is a chemotherapy agent, the use of which often causes nausea and

vomiting. Anzemet is prescribed for the treatment of post-chemotherapy nausea and vomiting.

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Accordingly, when a healthcare provider purchased Taxotere as a result of Aventis’ Fraudulent
Marketing Scheme, Aventis intended that Anzemet would routinely be marketed to and
purchased by the healthcare provider in order to address the nausea and vomiting caused by
Taxotere.

129. The business plans written by Aventis addressed the promotion and sale of
Taxotere and Anzemet together as a package. Similarly, Aventis’ training materials and
presentations discuss marketing Anzemet and Taxotere together as a package deal.

130. As part of the Fraudulent Marketing Scheme, as detailed above, Aventis marketed
both Taxotere and Anzemet together as a package. In other words, when Taxotere was
purchased by a healthcare provider for off-label uses because the patient needed treatment for
post-chemotherapy nausea and vomiting, Aventis marketed Taxotere and Anzemet as a package
deal. Thus, the same healthcare provider often purchased Anzemet when purchasing Taxotere.
Aventis used the excessive profits to be realized from Anzemet purchases as a marketing device
to healthcare providers to also induce the use and purchase of Taxotere.

3. Illegal Remuneration Was Paid To Healthcare

Providers For The On And Off-Label Prescription Of
Taxotere In Violation Of The Anti-Kickback Act.

131. | Between in or about 1996 and January 2004, Defendant Aventis provided
unlawful remuneration to physicians and other healthcare providers for speaking engagements,
travel, dinners, and entertainment in violation of the Anti-Kickback Act and Aventis’ own
internal compliance policies. These payments are made as an inducement to the physicians and
healthcare providers to prescribe Taxotere in on and off-label settings, or for high-volume uses
of Taxotere.

132. Defendant Aventis would direct its sales force to recruit high-volume users of

Taxotere to attend various seminars in resort hotels. The physician’s travel to the seminar would

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be paid for by Defendant Aventis. The hotel accommodations would be paid for Defendant
Aventis. In many instances, the entertainment following the presentation was paid for by
Aventis. In addition, physicians would receive “honoraria” payments from Aventis for their
attendance at these seminars. Finally, in some instances, the spouse and/or children of the
physician were permitted to go to the events that the physician attended, at the expense of
Aventis.

133. The seminars or presentations that these leading oncologists and healthcare
providers attended involved the promotion of the use of Taxotere in off-label settings. Aventis
knew the purpose of these seminars is and was to encourage, induce and influence the healthcare
providers to use Taxotere in these off-label settings.

134. Aventis also provided healthcare providers free tickets to various sporting events
such as professional football games, professional basketball games, the NBA “All-Star Game,”
and U.S. Open Tennis Tournaments; to various concerts, such as the February 2002 Billy
Joel/Elton John concert; tickets to the Philadelphia Orchestra; tickets to theme parks; and
arranging and paying for golf outings at expensive golf courses, among other benefits furnished.
In many instances, the spouse and/or children of the physician were permitted to attend said
events at Aventis’ expense. Defendant Aventis also provided expensive dinners at various
luxury restaurants, including but not limited to “The Striped Bass,” “Le Bec Fin,” “Suzanna
Fu’s,” and the “Fountain Room” in the Four Seasons Hotel in Philadelphia. These expenditures
were provided to the physicians by Aventis to induce them to purchase and prescribe Taxotere
and Anzemet. These tactics were part of Aventis’ corporate policy and were used throughout the

United States.

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135. For example, in June 2001, Aventis paid Hospital A a total of $10,000 as an
honorarium and grant to Physicians A, B, C, and D from the same hospital for their participation
in an American Society of Clinical Oncology (ASCO) seminar. The seminar "participation"
included a post-ASCO Review Golf Outing in Pittsburgh, Pennsylvania. Aventis’ business from
that same hospital increased over 45% in 2001.

136.. In both July and August of 2001, Aventis attracted difficult-to-see oncologists to
Pittsburgh Pirates baseball games to discuss prescribing Taxotere for both approved and off-label
indications in breast and lung cancer settings. Aventis paid $7,500 for a luxury box for each
game, in which the oncologists were hosted.

137. Additionally, Aventis recruited physicians and healthcare providers from around
the country to participate in various programs sponsored by Aventis such as advisory boards,
speaker training programs, and investigator meetings. Aventis created these programs for the
purpose of inducing and influencing physicians and healthcare providers to use Taxotere in off-
label settings and lobby the drug compendia for inclusion of additional indications for Taxotere.
Aventis also persuaded the speakers who participated in these programs to promote Taxotere for
off-label uses by showing them study data that favored Taxotere as an effective, safe treatment,
but withholding from the speakers study data that disfavored Taxotere. Moreover, even the
favorable information Aventis showed these speakers was based on non-randomized studies and
preliminary and anecdotal data from studies in which not all of the treatment cycles were
completed.

138. For example, throughout 2001; Group Practice A received thousands of dollars in
grant money in exchange for their physicians serving as Aventis speakers on off-label uses of

Taxotere at advisory boards and training workshops, nationally and internationally.

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139. After Aventis provided honoraria payments, speaking fees, and grant money in
excess of $250,000 to Group Practice B, not only did their Taxotere purchases increase, but a
physician in the practice group who had previously been reluctant to use Taxotere in the off-label
setting of adjuvant breast cancer became an Aventis speaker advocating Taxotere use in that very
setting.

140. Aventis routinely considered its marketing and promotional budget for Taxotere
and Anzemet in terms of the potential “return on investment.”

141. For example, Aventis funded in-services, lunches, and dinners for physicians and
other healthcare providers in order to unlawfully promote and induce the purchase of Taxotere.
For instance, on March 7, 2001 and May 24, 2001, Aventis spent $2,500 and $3,000,
respectively, on dinner programs to increase the use of Taxotere throughout the Pittsburgh
region. As Aventis’ Northeast Regional Manager stated with regard to these meals, “[w]e need -
to make sure that if we are spending money from our budget, that we are getting business in
return. Return on investment must be evaluated.” This was also Aventis’ agenda with respect to
advisory boards and speakers’ training meetings: “In order to maximize the return on our
investment, it is mandatory that each attendee of an advisory board or speaker's meeting be seen
[by an Aventis representative] within one week of the program .. . every effort is made to
identify new patients based on the data that was presented.”

142. Asearly as 2001 and 2002, and upon information and belief, well before that
time, Aventis implemented a corporate policy to provide sham unrestricted "grants" to healthcare
providers for the purpose of inducing them to prescribe Taxotere in violation of the Anti-
Kickback Act. Aventis engaged in the following actions, in violation of the Anti-Kickback Act,

for the purpose of increasing its sales of Taxotere:

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A. The Northeast Regional Sales Manager for Aventis' Oncology Department
drafted business plans in 2001 and 2002 that were submitted to Aventis Oncology’s upper
management, including the Oncology Chief and VPs of Sales and Marketing, and were copied to
the Northeast Region’s entire sales force, explicitly instructing that they must "evaluate the
return on investment" they are receiving from the provision of unrestricted "grants" to healthcare
providers and institutions. The message of the business plan was clear and understood by
Aventis' sales force: unrestricted "grants" were to be given out as an inducement to prescribe
Taxotere, and decisions on the provision of unrestricted "grants" were to be made with the goal
of increasing Taxotere sales. Aventis described this tactic as a "strategic imperative;"

B. Prior to approving a so-called "grant," Aventis considered "what [it] will
get from supporting this program/grant" and the manner in which it could "track return of
investment;"

C. Aventis gave so-called "grant" money to various healthcare providers to
induce them to prescribe Taxotere, and described its corporate funding as follows: "In order to
develop stronger relationships with the key academic accounts in the Northeast, we have
obtained corporate funding for programs and fellowships at select institutions. These accounts
influence treatment guidelines for oncologists throughout the country. In the coming year, we
will need to increase our return on investment for these grants;"

D. Aventis viewed the provision of "grants" as an investment, and questioned
the wisdom of providing grants to institutions that failed to subsequently increase their purchase
of Taxotere. Indeed, the 2002 business plan drafted by the Eastern Regional Sales Manager for
Aventis' Oncology Department stated: "We also provided corporate support to accounts such as

[Group Practice C] and [Hospital B]. These investments need to be questioned and evaluated

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closely moving forward. The return on investment at [Group Practice C] has not been
demonstrated." Aventis also complained that "the corporate support we provided to [Hospital B]
as part of a five-year commitment has not had any value in development relationships and no
impact on Taxotere usage." In an inter-office memorandum dated October 29, 2000, the Eastern
Regional Sales Manager for Aventis' Oncology Department stated that "We should also take a
close look at accounts where we have placed significant resources and have little or no return on
investment. In these accounts, we need to take a different approach;"

E. Similarly, Aventis' 2002 Regional Strategic Objectives explicitly
acknowledged that money was provided as an inducement to prescribe Taxotere, recognizing
that "[w]e provide a tremendous amount of both educational and financial support to the major
cancer centers in the region. We have committed well over $1,000,000 in corporate support for
my region in 2002. If we are not getting a significant amount of Taxotere usage from these
accounts, we need to determine why." Indeed, Aventis further stated that it was “supporting a
large number of programs through key academic centers in the region and [is] confident these
programs will not only help reinforce recent Taxotere clinical data, but will help expand usage."
Furthermore, when Aventis’ Eastern Regional Sales Manager distributed Aventis’ Regional
Sales Update via inter-office correspondence to the East Region Sales Team, he explicitly
acknowledged that “education grants” were intended to “change prescribing habits;”

F, The intent behind Aventis' provision of so-called "grants" was to increase
Taxotere sales in violation of the Anti-Kickback Act;

G. The intent behind Aventis' provision of so-called "grants" to induce

healthcare providers to prescribe Taxotere is further demonstrated by the fact that: the

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unrestricted "grant" money actually came form Aventis’ "advertising and promotion" budget,
rather than any sort of "education" budget.

143. In 2000, Aventis provided a $55,000 unrestricted "grant" to Hospital C. That
same year, Hospital C’s Taxotere sales increased by 66%.

144. Also in 2000, Aventis funded an Anzemet study at Hospital D which resulted in
Anzemet being added to that hospital’s formulary in November of that same year.

145. Similarly, in or about September 2000, Aventis held the Tucson Pharmacy
Consultant Meeting, which Pharmacist A, a pharmacist from Hospital E, attended. At this
meeting, Aventis promised a $100,000 “grant” to Pharmacist A and College A, his alma mater.
One month later, on October 12, 2000, Hospital E placed Anzemet on its formulary, initiating an
account worth over one million dollars.

146. Inor about July 2000, Hospital E signed a performance based contract for
Taxotere and Anzemet, but Hospital E did not proceed to purchase more Taxotere than it had in
the past. In order to move Hospital E off of Taxol, and increase its Taxotere purchases, Aventis’
Philadelphia Area Sales Manager offered a $25,000 “grant” to Group Practice D, a Hospital E
practice, to switch Taxol to Taxotere in one of its physician’s upcoming study, but the physician
refused. In or about March 2001, when Hospital E’s Taxotere sales were still lower than its
Taxol purchases, Aventis arranged a corporate visit at the Ritz Carlton, Philadelphia to offer
Group Practice D a total of $175,000 in grant money to facilitate a fellowship program and two
clinical trials. Aventis’ Philadelphia Area Sales Manager tracked Hospital E’s Taxotere
purchases and instructed his sales force to ensure Aventis received a return on its investment in
Hospital E by influencing its physicians to prescribe more Taxotere. By in or about July 2001,

when Hospital E was still not purchasing Taxotere in significant amounts, despite Aventis’

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promise of “gran > money, Aventis arranged another meeting with physicians from Group
Practice D in which the Area Sales Manager proposed that every time Hospital E’s physicians
ordered Taxol, the pharmacy should call the physician and request that he switch the order to
Taxotere. Although the physicians from Group Practice D would not explicitly agree to this
proposal, they responded with a commitment to increase Taxotere and Anzemet usage at
Hospital E. Following this meeting, throughout the fourth quarter of 2001 and 2002, Taxotere
sales at Hospital E increased. Now that it had received the return on its investment, in or about
February 2002, Aventis delivered the promised $175,000 grant to Group Practice D.

147. Following a $150,000 unrestricted educational grant from Aventis on March 29,
2001, Group Practice C increased both its use of Taxotere and Anzemet, switching many patients
over to off-label use of Taxotere for a variety of tumor types.

148. In 2002, Aventis gave Hospital F an unrestricted "grant" of $100,000; in July of
that same year, the hospital made a $2.5 million conversion to Anzemet.

149. Aventis knew that the practices described above were illegal, and even had a
corporate policy against engaging is such practices. Aventis’ Policy and Procedures Manual,
effective as of January 1, 2001, stated, "The giving or receiving of a grant or support of an
education program may not be conditioned on an explicit or implicit agreement to purchase,
prescribe, dispense, recommend, influence or provide favorable formulary status for Aventis
products or in return for purchasing, prescribing..."

150. Aventis’ corporate policies, however, were implemented as a subterfuge to hide
the fact that it knowingly provided remuneration to healthcare providers as an inducement to

increase sales of its products.

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151. Despite its knowledge that its provision of so-called "grants" as an inducement to
increase sales was illegal, Aventis routinely tracked the returns on its investments for both
Taxotere and Anzemet from its practice of providing this unlawful remuneration to various
healthcare providers and medical institutions.

4, The “Preceptorship” Program.

152. Defendant Aventis had a corporate policy whereby its sales representatives would
and did offer physicians and healthcare providers a sum of money to observe them during the
day with their patients. Aventis called this program a “preceptorship.”

153. Under Aventis’ official policy, a preceptorship was intended to allow the sales
representative to observe the physician performing his/her duties during a one ot two-hour period
to learn about current medical practices and how a particular physician makes a prescribing
decision. This official policy prohibits the sales representative from using the preceptorship for
any promotional activity: the representative may not promote any Aventis product or view the
preceptorship as an opportunity to gain access to a customer. The policy set a limit of one
preceptorship per physician in a given year.

154. Inreality and practice, the preceptorship program was a sham designed to
disguise payments of money to gain access to physicians to promote, and influence them to
prescribe, off-label uses of Taxotere, thereby increasing Taxotere sales.

155. ‘Aventis directed its sales representatives to use preceptorships to gain access to
otherwise unreachable physicians by paying them between $500 and $1000 for an hour or two of
their time, despite Aventis’ official policy capping the amount permitted to be paid to a physician
at $500. Defendant Aventis actively and aggressively encouraged its oncology sales
representatives to pursue as many preceptorship opportunities as possible, to do more than one

preceptorship with the same physician annually by disingenuously requesting a preceptorship for

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a different stated purpose, and to discuss and promote both the approved and off-label uses of
Taxotere with the physician during the preceptorship, in direct violation of its official policy.

156. For example, on September 12, 2001, despite the official policy prohibiting
discussions of drug products during the precetorship, Aventis’ Philadelphia Area Trainer
described using a preceptorship with a physician to successfully create the opportunity to discuss
Taxotere. Specifically, the Trainer stated, “I wanted to let all of you know that I had a very
successful preceptorship today with [Physician A from Group Practice E] over at [Hospital E]
and... we just had a great day. Had the opportunity to discuss a plethora of issues surrounding
Taxotere.”

157. On March 1, 2001, the Philadelphia Area Sales Manager forwarded a voicemail
message to his team from the Area Trainer regarding the Trainer’s recent preceptorship. In the
voicemail, the Sales Manager encouraged his selling team to use preceptorships to discuss
Aventis products in their conversations with physicians: “I know that every clinical, every
preceptorship, I did in spending clinical time with medical oncologists, I had the opportunity to
discuss, yes we’re there to learn, but to discuss Taxotere, the use of Taxotere, to discuss
individual patients and that’s what its all about (sic).”

158. Aventis used preceptorship payments to seek other returns on investment, such as
the addition of one of its drugs to a hospital’s formulary. For example, in 2000, Aventis
arranged a preceptorship on understanding oncology practice at Hospital G and, later that same
year, Anzemet was added to the hospital’s formulary.

159. Defendant Aventis engaged in this “preceptorship” program throughout the entire
country. The preceptorship program violates the Anti-Kickback Act because the unlawful

remuneration is provided in part to influence physicians and healthcare providers to prescribe

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Anzemet and Taxotere for off-label uses and thereby causes the submission of false claims for
payment to the Government.

5. Manipulation Of Dosage Amounts As A Kickback To
Healthcare Providers.

160. Defendant Aventis trained and encouraged Plaintiff, and other employees and
agents, to market dosages and increased dosages and ways of using Anzemet IV with prospective
and current purchasers in a manner that would increase the profit healthcare providers would
obtain through reimbursement from federal programs as an inducement to purchase Taxotere.
Specifically, Defendant Aventis instructed Plaintiff to encourage physicians and healthcare
providers who had not previously purchased Anzemet IV to do so by promoting both the higher
profit margin and the simplified dosage of 100 mg. single-use vials, a more convenient dose than
that of competing products. Once physicians and healthcare providers started using Anzemet IV,
Aventis' sales force was instructed to push the use of larger doses which required the purchase of
two (2) vials based on a different dosage formulation.

161. For example, according to FDA guidelines, there are two approved dosages for
the use of Anzemet IV in chemotherapy-induced nausea and vomiting. First, the physician may
prescribe a 100 mg. fixed dose. Alternatively, a dose of 1.8 mg. per kilogram of body weight is
permitted.

162. Using the second method of calculation, 1.8 mg. per kilogram of body weight,
any patient weighing 56 kg (approx. 120 Ibs), or more, would require more than one vial of
Anzemet IV. The average patient weighs 70 kg (approx. 154 Ibs). Because Defendant Aventis
produced Anzemet IV only in 100 mg. single-use vials, slightly more than one vial would need
to be used under the alternative dose, but the unused portion of the second vial should not be

re-used. Aventis marketed this second dosage calculation to influence physicians and healthcare

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providers to require two (2) vials of Anzemet IV per patient rather than the permitted one vial
dose, thereby greatly increasing the number of vials and amount of Anzemet IV used, and
substantially increasing the amount of profit made from reimbursement from the Government.

163. To promote the potential for this increased profit, Aventis provided two
reimbursement spreadsheets showing the profit potential from purchasing two vials of Anzemet
IV, as compared to the return on merely purchasing one vial, to members of its sales force to
induce prospective purchasers to increase their profit margin by adopting this alternative dosing
method. Aventis directed its sales force to focus the healthcare providers on the potential for
increased profit, rather than the medical necessity of increased dosages, in their promotion of the
alternative dosing method. Aventis' sales force engaged in this conduct throughout the country.

164. Manipulation of the dosage amount of Anzemet was a form of kickback paid to
healthcare providers to induce the purchase of Taxotere, as these drugs were marketed together
as a package deal.

6. Aventis Offers Free Samples As An Incentive To Purchase
Anzemet And To Induce The Purchase Of Taxotere.

165. Defendant Aventis has trained and encouraged Plaintiff and others in its sales
force to distribute many free samples of Anzemet IV, not only to prospective purchasers, but to
current purchasers of this drug. Thus, even though certain physicians, healthcare providers and
purchasers of Anzemet IV already contracted for certain amounts of Anzemet IV, Defendant
Aventis continued to provide them free samples.

166. On various occasions, when a physician indicated difficulty in obtaining
reimbursement for Taxotere, Aventis would provide free samples of Anzemet to placate the

physicians.

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167. Aventis was aware that, by providing free samples as compensation for the denial
or delay of Taxotere reimbursements, Aventis intended that the healthcare providers would be
billing for the free samples.

168. As part of its scheme to provide large numbers of free samples to healthcare
providers to induce the purchase of Taxotere, Defendant Aventis violated the sample inventory
and reporting requirements of the PDMA, specifically, 21 U.S.C.A. § 353(d), et. seq.

169. For example, the Philadelphia Area Sales Manager directed his sales force to
count the drug samples in their possession, write down the inventory numbers for each kind of
drug, and then forward those numbers directly to him for input into the inventory/audit system,
despite the fact that he had never physically inspected the location where the drug samples were
stored, nor personally verified the inventory numbers provided by the sales representatives.
Another time, the Area Sales Manager broadcast his code number via voicemail to the sales
representatives in his territory, directing them to input the inventory data into the computerized
inventory/auditing system under his code number, without his. ever physically inspecting the
location where the drug samples were stored and without verifying the inventory count.

170. Inor about January 2003, Aventis retroactively enforced sham disciplinary
procedures against its Philadelphia Area Sales Manager for three years of violating the sample
inventory and audit reporting requirements. Aventis issued him a “Final Written Warning” that
had no actual effect on his pay or seniority.

171. Aventis’ sales force engaged in this practice while also promoting the profitability

of Anzemet IV, in conjunction with Taxotere, to healthcare providers.

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172. Aventis’ sales force engaged in this practice while also providing assistance
concerning how to fill out claim forms to be submitted to the Government in connection with the
purchase of Anzemet IV and Taxotere.

173. The improper emphasis by Aventis’ sales force on the potential for substantial
profit by the healthcare providers coupled with the distribution of free samples of Anzemet IV to
existing purchasers of this product violates the Federal Anti-Kickback Act and the False Claims
Act.

7. Aventis’ Reimbursement Assistance Scheme.

174. Defendant Aventis has also engaged in providing free “value-added” services to
physicians and healthcare providers through the Providing Access to Cancer Therapy (PACT)
Program to assist them in obtaining reimbursement for unlisted off-label uses from the
Government, through such programs as Medicare, Medicaid, and other federal reimbursement
programs.

175. Under this scheme, Defendant Aventis knew and knows that the physicians who
are prescribing Taxotere in unapproved settings that are not listed on the drug reporting
compendia or approved by the fiscal intermediary would encounter difficulty in receiving
reimbursement from the Government for the cost of the drug. Thus, Defendant Aventis
implemented a plan to provide free assistance to physicians and healthcare providers to obtain
reimbursement from Medicare, Medicaid, and other federal reimbursement programs.

176. Initially, the physician and/or healthcare provider purchases Taxotere from
Aventis. After the physician/healthcare provider has used Taxotere for a patient, it is billed to
Medicare or Medicaid, and other federal reimbursement programs, in the normal course of
business. If the drug was used for an unlisted off-label use, and/or lacked the required medical

documentation, Medicare, Medicaid, and other federal reimbursement programs would often

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reject the payment. Thus, Aventis developed a toll-free reimbursement hotline to assist the

physician with this collection.

177. The PACT specialists at the free reimbursement hotline service provide such free
assistance to healthcare providers on matters such as coverage, fees, coding, claims submission,
documentation support, letters of medical need, and obtaining reimbursement information from
specific insurers, such as Medicare, Medicaid and many commercial insurers.

178. If, after contacting the free PACT hotline, the physician or healthcare provider
continues to have the claim denied, the physician will receive additional free assistance from
Aventis’ reimbursement department. At times, Aventis’ reimbursement department actually took
over the collection of the claim to get it reimbursed through Medicare, Medicaid, and other
federal reimbursement programs.

179. Defendant Aventis provides these free reimbursement services to physicians and
healthcare providers as an incentive and/or inducement to purchase and use Taxotere in
unapproved, non-reimbursable settings.

180. Defendant Aventis knew that certain unlisted off-label uses of Taxotere, which it
unlawfully promoted, are not eligible to be reimbursed under Medicare, Medicaid, and other
federal reimbursement programs. However, by providing the free reimbursement services,
Defendant Aventis in effect works for the physician to get Taxotere approved for reimbursement
under these federal programs.

8. Aventis Utilizes Third-Party Contractors To Pay Kickbacks To
Conceal Its Off-Label Promotional Activity

181. Dating back to at least 1996, RPR, Aventis’ predecessor in interest, used third-
party contractors, Co-Med Communications, Inc. and Genecom, to conceal its off-label

promotional activity and launder payments to promote off-label marketing.

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182. Aventis/RPR provided funds to third-party contractors such as Co-Med and
Genecom, who would then turn around and enter into agreements with physicians and group
practices and use the funds provided by Aventis/RPR as kickbacks to the physicians and group
practices. Aventis/RPR attempted to insulate itself from any liability associated with its off-label
marketing because it was not directly providing the kickbacks or entering into agreements with
the physicians and group practices regarding off-label promotional activity.

183. An internal document outlined the use of services being provided by Co-Med:

“Speaker Programs: “Taxotere and Gliadel physician programs (on
and off label) are processed through Co-Med. Co-Med is
responsible for securing contracts with speakers...”

Preceptorship Agreements: ...can be through individual physicians
or with an institution...

Grant Agreements: ...agreement for support of
educational/scientific activities...”

184. The utilization of Co-Med was no small endeavor as RPR budgeted nearly
$500,000 in fiscal year 1996 for speaker programs via Co-Med.

185. RPR likewise acknowledged the use of Genecom for its off-label promotional
activity:

Genecom (a division of Robert Becker Agency) is the
administrator of grants for “off-label” events, “Off-label” means
the event is promoting an indication that has not yet been approved
by the FDA and is therefore not on our labeling. RPR cannot
legally promote that indication. The contract stipulates that RPR is
not influencing the speaker...”

Colleen will send us a sample report that Genecom generates. Lee

186. RPR directed that if a physician was going to speak and promote Taxotere for an

off-label use, that physician had to sign a Genecom (as opposed to an RPR) speaking form.

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187. These practices continued after Aventis was formed in 1999. In addition, between
1999 and 2004, Aventis continued to perpetrate this concealment of its off-label marketing
scheme through another third-party contractor, Pharmedica Communications.

IV. AVENTIS’ FRAUDULENT MARKETING SCHEME VIOLATED THE FALSE
CLAIMS ACT

A. DEFENDANT KNEW AND INTENDED THAT ITS FRAUDULENT MARKETING
SCHEME WOULD RESULT IN THE SUBMISSION OF INELIGIBLE AND FALSE
CLAIMS FOR REIMBURSEMENT TO THE GOVERNMENT.

188. Because Aventis unlawfully promoted on and off-label Taxotere uses by
presenting preliminary data, by making false and misleading statements regarding Taxotere’s
safety and efficacy to the public, healthcare providers, and the FDA, and by the payment of
unlawful kickbacks to healthcare providers, it corruptly influenced those healthcare providers’
professional medical judgment. As a direct result of Aventis’ Fraudulent Marketing Scheme,
healthcare providers prescribed Taxotere for indications that were not “medically necessary;”
were not otherwise eligible for reimbursement; and/or were unlawfully induced by payment of
kickbacks,

189. During the time that the Fraudulent Marketing Scheme was being perpetrated,
Defendant Aventis knew that the FDA had only approved Taxotere for certain limited
indications. Defendant Aventis further knew that certain Taxotere uses it promoted were not
“medically necessary,” and certain indications were not “medically accepted indications,”
because they were neither included on the FDA-approved product labeling nor were they listed
on the relevant drug reporting compendia or approved for reimbursement by the relevant fiscal
intermediary.

190. During all times relevant to this Complaint, Defendant knew that Taxotere

treatments would only be widely prescribed for on and off-label treatments if Governmental

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medical reimbursement systems reimbursed claims for Taxotere prescriptions, due to the high
cost of these treatments.

191. Thus, during the time that the Fraudulent Marketing Scheme was being
perpetrated, Defendant Aventis knew and intended that the Fraudulent Marketing Scheme would
result in the submission of false claims for reimbursement, pursuant to Governmental medical
reimbursement systems, for both on-label uses and off-label uses of Taxotere.

B. AVENTIS’ FRAUDULENT MARKETING SCHEME IN FACT CAUSED THE

SUBMISSION OF FALSE AND INELIGIBLE CLAIMS FOR REIMBURSEMENT TO
THE GOVERNMENT.

192. Annual U.S. sales exceeding one billion dollars for an expensive drug or biologic
like Taxotere can occur only if a Governmental medical reimbursement system such as Medicare
or Medicaid reimburses claims for widespread use of the drug.

193. Over the four-year period between 2000 and 2004, Defendant Aventis’ annual
sales of Taxotere increased from $424 million to approximately $1.4 billion.

194. Because of the limited approved uses of Taxotere, and as a direct result of
Aventis’ Fraudulent Marketing Scheme to promote Taxotere for off-label uses, by in or about
2001, Aventis achieved approximately 90% of its Taxotere sales for off-label uses.

195, Due to the high cost of Taxotere, the substantial volume of Taxotere sales could
occur only if a Governmental medical reimbursement system reimbursed large numbers of
claims for those Taxotere prescriptions.

196. Defendant Aventis’ Fraudulent Marketing Scheme caused healthcare providers to
prescribe Taxotere for both on and off-label treatments of cancer who would not have otherwise
done so, but for Defendant’s Fraudulent Marketing Scheme.

197. Consequently, Defendant Aventis’ Fraudulent Marketing Scheme caused a

substantial number of healthcare providers to submit claims for reimbursement to Governmental

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medical reimbursement systems for the use of Taxotere, which would not have otherwise been
paid. had the Government reimbursement programs known of Aventis’ Fraudulent Marketing
Scheme.

C. CLAIMS FOR PAYMENT FOR TAXOTERE DURING RELEVANT TIMES WERE

NECESSARILY FALSE OR FRAUDULENT, AND AVENTIS KNEW THAT SUCH
CLAIMS WERE FALSE OR FRAUDULENT.

198: Because of Aventis’ illegal promotion of certain off-label uses of Taxotere, and
because Aventis engaged in the Fraudulent Marketing Scheme, which included unlawful
kickbacks to physicians and healthcare providers, as described more fully above, the claims for
payment for Taxotere by the providers were false and fraudulent and not eligible for
reimbursement pursuant to Governmental medical reimbursement regulations.

199. Because every claim submitted for reimbursement pursuant to a Governmental
medical reimbursement system is paid only if the healthcare provider has certified that the
services rendered are eligible for reimbursement under Federal law and in compliance with
Federal laws, claims for payment submitted to and paid by a Governmental medical
reimbursement system for the prescription of Taxotere as a result of Aventis’ Fraudulent
Marketing Scheme were necessarily false or fraudulent claims for payment during all times
relevant to this Complaint and, thus, Aventis’ Fraudulent Marketing Scheme utilized false
statements and records to get false claims paid and caused such false claims to be submitted to
the Government. But for Aventis’ Fraudulent Marketing Scheme, healthcare providers would
not have been unlawfully influenced to prescribe Taxotere, and had the Government known of
the Fraudulent Marketing Scheme, it would not have paid for such claims.

COUNTI

Conspiracy To Violate The False Claims Act — 31 U.S.C. §3729(a)(3)

200. Paragraphs 1-199 are incorporated as set forth at length herein.

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201. Between at least 1996 to January 2004, the Defendant Aventis, various healthcare
providers, Aventis’ outside consultants, and members of Aventis’ sales force, knowingly
combined and conspired with each other to violate the False Claims Act by acting in concert to
defraud the Government by getting fraudulent claims allowed and paid relating to Taxotere in
violation of 31 U.S.C. §§ 3729(a)(3).

202. The healthcare providers that submitted false claims for payment to the
Government include, but are not limited to, Hospitals A-G, Group Practices A-E, and the John
Doe Defendants. The false claims submitted by the herein identified healthcare providers
include, but are not limited to, the demands for reimbursement for the prescription of Taxotere
when it was not medically necessary and, thus, ineligible for federal reimbursement. The false
statements made are more fully described above in the Fraudulent Marketing Scheme involving
the unlawful promotion of Taxotere.

203. Certain documents, records and other materials that provide evidence of the
Fraudulent Marketing Scheme and the false claims for payment made to the Government
between 1996 and January 2004 are in the possession or control of Defendant Aventis, third-
party healthcare providers, or other entities or persons over whom Plaintiff has no control or
responsibility. The documents, records and other materials in the possession of Defendant
Aventis include, but are not limited to, healthcare claim forms, marketing presentations,
communications to sales representatives, ledgers showing payment to healthcare providers,
records demonstrating marketing activity directed at healthcare providers, records of sample
distribution, Aventis Managers’ and Sales Specialists’ annual business plans and significant
activity reports, Aventis Oncology Sales Specialists’ weekly reports, corporate policies and

procedures generated and maintained by Aventis, logs of Aventis speaker presentations, minutes

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of board meetings, records of meetings of the Oncology Department, sales statistics,
spreadsheets, and training materials. The documents, records and other materials in the
possession of third parties include, but are not limited to, claims made to the Government for
reimbursement, medical records and patient charts, records of prescriptions, records of payments
received from the Government, records evidencing meetings with members of Aventis’ sales
force, and communications between the third parties, Aventis and members of its sales force.
The documents, records and other information that evidence the Fraudulent Marketing Scheme
are available from Defendant and other third parties and will be obtained through discovery.

204. The false claims and statements made and caused to be made by Aventis and its
co-conspirators in furtherance of the conspiracy are set forth in detail above.

WHEREFORE Plaintiff/Relator, Yoash Gohil, acting on behalf of the United States of
America, demands that Defendants pay the United States of America the penalty of not less than
$6,000 and not more than $11,000 per violation of the False Claims Act committed by Aventis
and the John Doe Defendants; treble the damages which the United States of America has
sustained because of the violations of the False Claims Act, with such violations occurring
between 1996 and January 2004 and including, but not limited to, the claims for reimbursement
for prescriptions of Taxotere and false statements made by the herein identified healthcare
providers relating to the unlawful promotion of Taxotere; plus litigation costs and reasonable

attorneys fees, and other such relief as the Court deems appropriate.

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COUNT II

Violations Of The Federal Anti-Kickback Act
As Violations Of The False Claims Act — 31 U.S.C. § 3729(a)(2)

205. Plaintiff incorporates paragraphs 1-204 as if fully set forth herein.

206. Defendant Aventis violated 42 U.S.C. §1320a-7b(b)(1) because it knowingly and
willfully paid remuneration to healthcare providers in return for arranging for the furnishing and
recommending of goods and services for which payment was made under a Federal healthcare
program relating to Taxotere in violation of 42 U.S.C. §1320a-7b(b)(1)(A) and (B).

207. Aventis knowingly caused the submission of false and fraudulent claims and
charges by healthcare providers to whom Taxotere was sold because those providers were caused
to submit false claims, use false statements and records to get false and fraudulent claims paid as
a direct result of Aventis’ violations of the Anti-Kickback Act.

208. Providers of service participating in the Medicare program are required by Soc.
Sec. Act §1815(a) to submit to the Department of Health and Human Services information
regarding the cost relating to healthcare services furnished to Medicare beneficiaries. Medicare
regulations also state that cost reports are required from providers on an annual basis.

209. The cost reports on the Form HCFA-2552 and the certifications contained therein
were filed by certain Aventis customers who purchased goods and/or services from it. Each
Form HCFA-~-2552 contained a certification that each cost report submitted to the Government
was not infected by a kickback or other unlawful activity, and included costs and expenses for
goods and/or services provided by or on behalf of Aventis for which healthcare providers
received unlawful remuneration in the form of price reductions, incentives, gifts, and/or bonuses
in violation of 42 U.S.C.A. 1320a-7b(b), thus causing the certifications on Form HCFA-2552 to

be “false records or statements.”

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210. Medicare would not have reimbursed Aventis’ customers if it had known that
Aventis’ customers submitted false and fraudulent documents in order to obtain higher Medicare
reimbursement, or if it had known about Aventis’ underlying violations of the Anti-Kickback
Act.

211. Aventis knew that the statements submitted by its healthcare provider customers
consisted of false certifications on the annual cost reports in that its customers certified their
compliance with all Federal and State laws, yet acted in violation of the Anti-Kickback Act.
Aventis further knew that, by providing kickbacks to healthcare providers, it was causing
providers to violate their Provider Agreements.

212. The submission of thousands of claims for payment by Aventis’ customers
contained false certifications that they were complying with Federal healthcare laws and
regulations, including the Anti-Kickback Act, when, in fact, they were not. Each failure of
Aventis’ customers to announce their non-compliance with the Anti-Kickback Act constituted a
violation of the False Claims Act. The healthcare providers that submitted false claims for
payment include, but are not limited to, Hospitals A-G, Group Practices A-E, and the John Doe
Defendants.

213. The submission for approval of the Form HCFA-2552s, which falsely certified
compliance with all applicable laws, and the above discussed illegal actions by Aventis, violate
the explicit prohibitions of 31 U.S.C.A. 3729(a)(2) of the False Claims Act.

WHEREFORE Plaintiff/Relator, Yoash Gohil, acting on behalf of the United States of
America, demands that Defendants pay the United States of America the penalty of not less than
$6,000 and not more than $11,000 per violation of the False Claims Act committed by Aventis

and the John Doe Defendants; treble the damages which the United States of America has

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sustained because of the violations of the False Claims Act, with such violations occurring
between 1996 and January 2004 and including, but not limited to, the claims for reimbursement
for prescriptions of Taxotere and false statements made by the herein identified healthcare
providers relating to the unlawful promotion of Taxotere; plus litigation costs and reasonable

attorneys fees, and other such relief as the Court deems appropriate.

COUNT Il

Violation Of 31 U.S.C.A. §3729(a)(1)

214. Paragraphs 1-213 are incorporated as set forth at length herein.

215. Between at least 1996 and January 2004, Aventis, pursuant to the Fraudulent
Marketing Scheme, as described above, and by the false certification of compliance with federal
regulations, knowingly submitted and/or caused to be submitted false and fraudulent claims for
payment or approval to Medicare, Medicaid, Champus/Tricare, and other federal reimbursement
programs relating to Taxotere in violation of 31 U.S.C.A. §3729(a)(1), as more fully described
herein. The healthcare providers that submitted false claims for payment include, but are not
limited to, Hospitals A-G, Group Practices A-E, and the John Doe Defendants.

216. Aventis’ actions, which caused the submission of false and fraudulent claims for
payment or approval to the Government, caused the Government to suffer damages and pay
funds to Defendants to which they were not entitled.

WHEREFORE Plaintiff/Relator, Yoash Gohil, acting on behalf of the United States of
America, demands that Defendants pay the United States of America the penalty of not less than
$6,000 and not more than $11,000 per violation of the False Claims Act committed by Aventis
and the John Doe Defendants; treble the damages which the United States of America has

sustained because of the violations of the False Claims Act, with such violations occurring

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between 1996 and January 2004 and including, but not limited to, the claims for reimbursement
for prescriptions of Taxotere and false statements made by the herein identified healthcare
providers relating to the unlawful promotion of Taxotere; plus litigation costs and reasonable

attorneys fees, and other such relief as the Court deems appropriate.

COUNT IV

Violation Of 31 U.S.C.A. §3729(a)(2)

217. Paragraphs 1-216 are incorporated as set forth at length herein.

218. Between at least 1996 and January 2004, Aventis, by the Fraudulent Marketing
Scheme, and/or by the false certification of compliance with federal regulations, knowingly
caused to be made and used false records and statements, and caused to be submitted false
records and statements, to get false and fraudulent claims paid and approved by the Government
relating to Taxotere in violation of 31 U.S.C.A. §3729(a)(2), as more fully described herein.

219. Aventis’ actions, which caused the submission of false records and statements to
the Government, caused the Government to suffer damages and pay funds to Defendants to
which they were not entitled.

WHEREFORE Plaintiff/Relator, Yoash Gohil, acting on behalf of the United States of
America, demands that Defendants pay the United States of America the penalty of not less than
$6,000 and not more than $11,000 per violation of the False Claims Act committed by Aventis
and the John Doe Defendants; treble the damages which the United States of America has
sustained because of the violations of the False Claims Act, with such violations occurring
between 1996 and January 2004 and including, but not limited to, the claims for reimbursement

for prescriptions of Taxotere and false statements made by the herein identified healthcare

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providers relating to the unlawful promotion of Taxotere; plus litigation costs and reasonable

attorneys fees, and other such relief as the Court deems appropriate.

JURY TRIAL DEMAND

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

trial by jury on all issues.

Date: May 13, 2015 de. (WM Ldbol Me

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
ex. rel. YOASH GOHIL,
Plaintiff/Relator,
vs. ' No. 02-cv-2964

SANOFI-AVENTIS U.S. INC.; AVENTIS,
INC., AVENTIS PHARMACEUTICALS,
INC., and JOHN DOES #1-50, FICTITIOUS
NAMES,

Defendants.

CERTIFICATE OF SERVICE

hereby certify that on this 13" day of May, 2015, I caused Plaintiff/Relator Yoash
Gohil’s Third Amended Complaint to be filed with the Court. In addition, I caused true and ©

correct copies of the foregoing to be served on the following persons:

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